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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONT ANA
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,
                                                     CR 07-86-BLG-SPW-03
                       Plaintiff,

 vs.                                                  ORDER

 JASON MOSIER,

                       Defendant.

       Upon the Defendant's Motion for Early Termination of Supervised Release

(Doc. 337), pursuant to 18 U.S.C. § 3564(c) and Fed. R. Crim. P. 32.l(c)(2), and

good cause being shown,

       IT IS HEREBY ORDERED that Defendant, Jason Mosier, is released from

supervised release.

       The Clerk shall forthwith notify the parties and the U.S. Probation Office of

the making of this Order.

       DATED thi'     ~of fanillry, 201~
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                                             susAN P. WATTERS
                                              United States District Judge
